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5
     Attorney for Defendant
6    SAY TAYLOR
7
8                                    IN THE UNITED STATES DISTRICT COURT
9                                   FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                         )   No. 1:12-cr-00341 LJO-SKO
                                                       )
12                     Plaintiff,                      )   STIPULATION AND ORDER TO CONTINUE
                                                       )   STATUS CONFERENCE HEARING
13     v.                                              )
                                                       )   DATE: July 22, 2013
14   SAY TAYLOR,                                       )   TIME: 1:30 P.M.
                                                       )   JUDGE: Hon. Lawrence J. O’Neill
15                     Defendant.                      )
                                                       )
16                                                     )
17
18             IT IS HEREBY STIPULATED by and between the parties hereto through their respective
19   counsel that the status conference in the above-captioned matter now set for May 13, 2013, may be
20   continued to July 22, 2013 at 1:30 p.m. before the Honorable Lawrence J. O’Neill.
21             The parties have reached a resolution on this case and Mr. Taylor wishes to enter a plea at his
22   next court hearing. However, the case is currently set on a date Mr. Taylor has to take his disabled
23   daughter to a medical appointment. In consulting with counsel for the government, as well at Mr. Chy
24   Yang, the Laotian interpreter generally used by the court, the next date available for all parties is July 22,
25   2013. Mr. Taylor would additionally request to be placed on the 1:30 p.m. calendar as he drives up from
26   the Los Angeles area on the dates he is required to attend court.
27   ///
28   ///
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1       The requested continuance is with the intention of conserving time and resources for both parties and
2    the court. The parties agree that the delay resulting from the continuance shall be excluded in the interests
3    of justice, including but not limited to, the need for the period of time set forth herein for
4    effective defense preparation, defense investigation, and plea negotiation purposes pursuant to 18 U.S.C.
5    §§ 3161(h)(7)(A) and 3161(h)(7)(B)(i) and (iv).
6
7                                                                 Respectfully submitted,
8                                                                 BENJAMIN B. WAGNER
                                                                  United States Attorney
9
10   DATED: April 15, 2013                             By:        /s/ Karen A. Escobar
                                                                  KAREN A. ESCOBAR
11                                                                Assistant United States Attorney
                                                                  Attorney for Plaintiff
12
13                                                                JOSEPH SCHLESINGER
                                                                  Acting Federal Defender
14
15   DATED: April 15, 2013                              By:       /s/ Charles J. Lee
                                                                  CHARLES J. LEE
16                                                                Assistant Federal Defender
                                                                  Attorney for Defendant
17                                                                SAY TAYLOR
18
19
20
21                                                     ORDER
22          Time is excluded pursuant to 18 U.S.C. §§ 3161(h)(7)(A) and 3161(h)(7)(B)(i) and (iv).
23
     IT IS SO ORDERED.
24
     Dated:        April 16, 2013                  /s/ Lawrence J. O'Neill   B9ed48
25                                                 UNITED STATES DISTRICT JUDGE
26
27
28

     Taylor: Stipulation and Proposed Order                   2
